
660 S.E.2d 494 (2008)
STATE of North Carolina
v.
Christopher Boyce LOFTIS.
No. 440P07.
Supreme Court of North Carolina.
March 6, 2008.
M. Gordon Widenhouse, Jr., Chapel Hill, for Loftis.
Jay J. Chaudhuri, Special Counsel to Attorney General, Jeff Hunt, District Attorney, for State of NC.
Prior report: ___ N.C.App. ___, 649 S.E.2d 1.

ORDER
Upon consideration of the petition filed on the 10th day of September 2007 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 6th day of March 2008."
